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   12   Limited appearance on behalf of
   13
        Defendants California Lutheran University,
        Chris Kimball, Melissa Maxwell-Doherty,
   14   Jim McHugh, and Karin Grennan
   15                       UNITED STATES DISTRICT COURT
   16                      CENTRAL DISTRICT OF CALIFORNIA
   17

   18   DEBBY DAY; DE ANN YOUNG;                     CASE NO. 8:21-cv-1286
        JASON GLUCKMAN; JANE DOES 1-
   19   24,                                          DEFENDANTS’ OPPOSITION TO
                                                     PLAINTIFFS’ MOTION TO
   20                  Plaintiffs,                   STRIKE PORTIONS OF
   21                                                DEFENDANTS’ REPLY IN
        v.                                           SUPPORT OF MOTION TO
   22                                                DISMISS
        CALIFORNIA LUTHERAN
   23   UNIVERSITY; CHRIS KIMBALL;                   Date: July 8, 2022
        MELISSA MAXWELL-DOHERTY;                     Time: 10:30 a.m.
   24   JIM MCHUGH; KARIN GRENNAN                    Courtroom: 8A
        and ROES 1 through 200, inclusive,
   25
                                                     The Hon. Josephine L. Staton, U.S.D.J.
   26                  Defendants.

   27

   28
                                                          DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                                                                  MOTION TO STRIKE PORTIONS OF
                                                               DEFENDANTS’ REPLY IN SUPPORT OF
                                                                             MOTION TO DISMISS
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    1        Defendants California Lutheran University (the “University” or “CLU”), Chris
    2 Kimball,    Melissa    Maxwell-Doherty,      Jim   McHugh,       and    Karin     Grennan
    3 (“Defendants”), by and through their undersigned counsel, submit this Opposition to

    4 Plaintiffs’ Motion to Strike Portions of Defendants’ Reply in Support of Defendants’

    5 Motion to Dismiss. (Doc. 71.)

    6                                   INTRODUCTION
    7        Plaintiffs filed the instant Motion to Strike in an improper attempt to strike a
    8 still-shot from the video of the lip-syncing performance that they refer to repeatedly

    9 in their First Amended Complaint. In other words, Plaintiffs are asking the Court to

   10 strike from the record the central piece of evidence in this case, which, as the Court

   11 has observed, provides context and a counterargument to Plaintiffs’ narrative of the

   12 events underlying this lawsuit. See Order Granting Motion to Compel the Identity of

   13 Plaintiffs Jane Does 1-24 (Doc. 76 at 8.) Plaintiffs’ motion rings particularly hollow

   14 in light of the fact that, when the parties met and conferred about this motion,

   15 Defendants offered to stipulate to place the entire Reply under seal and submit the

   16 entirety of the subject video to the Court to review, in camera, so the Court could

   17 actually visualize the extent of Plaintiffs’ conduct, but counsel refused. See

   18 Declaration of Henry A. Platt, Esq. ¶¶ 5-6 (“Platt Decl.”) submitted herewith. Their

   19 reason remains unstated, but their intent obvious.1

   20        Plaintiffs’ Motion to Strike lacks merit for at least two reasons. First, abundant
   21 case law and the face of the Rule itself make clear that Federal Rule of Civil

   22 Procedure 12(f) applies only to “pleadings.” Because a reply in support of a motion

   23 is not a pleading, see Fed. R. Civ. P. 7(a), Rule 12(f) cannot serve as a mechanism to

   24 strike an image from Defendants’ Reply Brief. Plaintiffs are free to argue that the

   25 Court should disregard the image as not fairly within the four corners of the

   26
       Defendants continue to offer to make the video available for the Court to review, in
        1

   27 camera, if it desires, in light of the very serious allegations made against Defense
      Counsel in Plaintiffs’ motion.
   28
                                                            DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                                                                    MOTION TO STRIKE PORTIONS OF
                                                                 DEFENDANTS’ REPLY IN SUPPORT OF
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  1   Complaint (though it plainly is), but their remedy is not under Rule 12(f).
  2         Second, Plaintiffs’ Motion to Strike confusingly seeks to preclude the Court
  3   from seeing a piece of evidence Plaintiffs refer to repeatedly in their Complaint. How
  4   there could be anything improper, let alone worthy of a motion to strike, about such
  5   an image is deeply perplexing. At bottom, Plaintiffs’ panicked, defensive reaction to
  6   the image appearing in the record underscores the fact that they do not want the Court
  7   to see these images at the pleading stage. Why? Presumably because like others who
  8   viewed the lip-syncing performance on social media prior to any action by
  9   Defendants, the Court will see the basic facts: members of the Softball Team colored
 10   their faces darkly, performed an exaggerated dance routine on a stage, by all
 11   appearances pretending to be Black characters from a television show, and then
 12   posted to social media a video of the performance that was reasonably perceived as
 13   racially insensitive. Plaintiffs’ complaints about the quality of the image are a
 14   sideshow in light of Defendants’ offer to provide the Court with the entire video,
 15   which Plaintiffs refused. This motion is a tactic to plead this case without revealing
 16   what Plaintiffs actually did, and it should be denied.
 17         Finally, this Court’s recent Order Granting Motion to Compel the Identity of
 18   Jane Does 1-24 (Doc. 76) implicitly moots Plaintiffs’ motion. In discussing the still
 19   shot of the Jane Doe Plaintiff, the Court stated:
 20         Moreover, Plaintiffs argue that they face threats of severe harm because
 21         Defendants filed “an altered picture of one of the Jane Does in Defendants’
 22         Reply in Support of their Motion to Dismiss Plaintiffs’ Complaint.” (Opp. at
 23         8, Doc. 70.) Plaintiffs argue that such filing “was only made to further harm
 24         and retaliate against Plaintiffs for the filing of this lawsuit.” (Id.) The Court
 25         has reviewed the context in which the photo was referenced and finds
 26         Plaintiffs’ argument without merit. From the Court’s review, Defendants cited
 27         the photo to provide a counterargument to Plaintiffs’ narrative of the events.
 28         (See, e.g., Reply at 1, Doc. 69.) While Plaintiffs note that the photo “is not an
                                                          DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                                                                  MOTION TO STRIKE PORTIONS OF
                                                               DEFENDANTS’ REPLY IN SUPPORT OF
                                                                             MOTION TO DISMISS
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  1         accurate depiction of the individual in question” as it appears, among other
  2         things, to be under-pixilated, Plaintiffs have offered no evidence to support
  3         their assertion that Defendants intentionally filed the photo “to inflict more
  4         harm and public humiliation” upon Plaintiffs. (Saltz Decl. ¶ 13-14, Doc. 70-
  5         1.)
  6   (Doc. 76 at 8.) As this Court correctly stated, the still-shot was not filed with any
  7   malice but instead was reasonably incorporated into Defendants’ Reply Brief for the
  8   Court to understand the events at the heart of this litigation.
  9                                       ARGUMENT
 10   I.    RULE 12(f) APPLIES ONLY TO PLEADINGS, AND THUS PROVIDES
 11         NO BASIS FOR STRIKING PORTIONS OF DEFENDANTS’ REPLY
 12         BRIEF.
 13         Federal Rule of Civil Procedure 12(f) provides that “[t]he court may strike
 14   from a pleading an insufficient defense or any redundant, immaterial, impertinent,
 15   or scandalous matter.” (emphasis added). A reply brief in support of a motion is not
 16   a “pleading” within the meaning of the Federal Rules. See Fed. R. Civ. P. 7(a)
 17   (defining “pleadings”). The Ninth Circuit and this Court have repeatedly held that
 18   Rule 12(f) applies only to pleadings, not motions. In Sidney-Vinstein v. A.H. Robins
 19   Co., the Ninth Circuit stated as follows:
 20         Rule 12(f) provides that “the court may order stricken from any pleading any
 21         insufficient defense or any redundant, immaterial, impertinent, or scandalous
 22         matter”. (emphasis added.) Under the express language of the rule, only
 23         pleadings are subject to motions to strike. The appellees have cited no cases
 24         that have construed F.R.Civ.P. 12(f) as allowing a district court to strike
 25         material not contained in the pleadings of the case.
 26   697 F.2d 880, 885 (9th Cir. 1983) (finding error in the trial court’s order striking
 27   portions of a motion).
 28         This Court has similarly stated that “Rule 12(f) only applies to pleadings, not
                                                            DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                                                                    MOTION TO STRIKE PORTIONS OF
                                                                 DEFENDANTS’ REPLY IN SUPPORT OF
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  1   motions or declarations.” Intercontinental Indus. Corp. v. Luo, No. LACV10-
  2   04174JAKEX, 2016 WL 11757610, at *11 n.9 (C.D. Cal. Sept. 27, 2016), aff’d sub
  3   nom. Intercontinental Indus. Corp. v. Wuhan State Owned Indus. Holdings Co., 726
  4   F. App’x 619 (9th Cir. 2018) (citing Renard v. San Diego Unified Port Dist., No. 06-
  5   CV-2665H, 2007 WL 2262853, at *1 (S.D. Cal. Aug. 6, 2007) (“Importantly, only
  6   pleadings are subject to a motion to strike. Improper motions, declarations, or other
  7   material not contained in pleadings cannot be stricken under Rule 12(f).”)); see also
  8   Whitehurst v. Walgreen’s Co. Store, No. CV 09-6680 AHM (RZX), 2010 WL
  9   309025, at *1 (C.D. Cal. Jan. 25, 2010) (“Rule 12(f) on its face applies only to
 10   pleadings, and a motion to dismiss is not considered a pleading, as explained in
 11   Fed.R.Civ.P. 7(a).”); Fed. Trade Comm’n v. Lucaslawcenter “Incorporated,” No.
 12   SACV090770DOCANX, 2009 WL 10675780, at *2 (C.D. Cal. Sept. 22, 2009) (“The
 13   Court finds that Rule 12(f) applies only to pleadings”); Bd. of Trustees of S. Cal. Pipe
 14   Trades Tr. Fund v. Balliet, No. CV 91-6359 JGD, 1992 WL 472371, at *2 (C.D. Cal.
 15   Dec. 17, 1992) (“Because Rule 12(f) applies only to pleadings . . . Rule 12(f)
 16   provides no basis for striking portions of the [] motion.”).
 17         Plaintiffs cite to one out of circuit case stating that “courts occasionally have
 18   applied the Rule to filings other than those enumerated in Rule 7(a),” see Pigford v.
 19   Veneman, 215 F.R.D. 2, 4 n.1 (D.D.C. 2003) (emphasis added), but fail to discuss
 20   binding authority from this Circuit holding the opposite. To be clear, neither this
 21   Court, nor the Ninth Circuit, are among the courts that have “occasionally” applied
 22   Rule 12(f) outside of the pleading context. Indeed, Plaintiffs cite only one Central
 23   District case, which bore on whether portions of a pleading (a complaint) should be
 24   stricken. See In re 2TheMart.com Inc. Securities Litigation, 114 F. Supp. 2d 955, 965
 25   (C.D. Cal. 2000) (denying motion to strike portions of the complaint).
 26         In light of the foregoing, Rule 12(f) cannot serve as a mechanism to strike any
 27   portion of Defendants’ Reply Brief, so Plaintiffs’ Motion to Strike should be denied
 28   from the outset.
                                                           DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
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  1   II.   DEFENDANTS’ INCLUSION OF THE STILL-SHOT OF THE VIDEO
  2         AT THE CENTER OF THIS ACTION WAS APPROPRIATE AND
  3         SHOULD NOT BE STRICKEN.
  4         First principles are that Rule 12(f) motions “have long been ‘disfavored’” and
  5   that striking portions of a pleading “is a drastic remedy” that is “rarely granted by
  6   courts.” Loi Nguyen v. Durham Sch. Servs., L.P., 358 F. Supp. 3d 1056, 1062 (C.D.
  7   Cal. 2019); G & G Closed Cir. Events, LLC v. Martinez, No. CV19-07815-WDK-
  8   JC, 2020 WL 5898797, at *1 (C.D. Cal. July 30, 2020). “Such motions will usually
  9   be denied unless the moving party demonstrates that ‘the allegations being
 10   challenged are so unrelated to the plaintiff’s claims as to be unworthy of any
 11   consideration as a defense and that their presence in the pleading throughout the
 12   proceeding will be prejudicial to the moving party.’” Id. (denying motion to strike
 13   defendant’s affirmative defenses).
 14         As stated plainly by the only Central District of California case cited in
 15   Plaintiffs’ Motion to Strike, “[i]f there is any doubt as to whether the allegations
 16   might be an issue in the action, courts will deny the motion.” In re 2TheMart.com
 17   Inc. Sec. Litig., 114 F. Supp. 2d at 965 (emphasis in original) (denying motion
 18   because the portion of the complaint at issue “may be relevant” to the claims).2
 19         The still-shot from the video of the lip-syncing performance is not just relevant
 20   to Plaintiffs’ claims, it is the focal point of this lawsuit, and Plaintiffs are not just
 21   asking the Court to disregard it (which would itself be odd), but to strike it from the
 22   case. This tactic is particularly strange because Plaintiffs acknowledge that Jane Does
 23
      2
        Plaintiffs’ reliance on Magill v. Appalachia Intermediate Unit 08, 646 F. Supp. 339,
 24
      343 (W.D. Pa. 1986) is misplaced. In Magill, the court struck language from a
 25   complaint because it “reflect[ed] adversely on the moral character of an individual
      who is not a party to this suit.” Id. Here, the Jane Doe whose image appears in
 26
      Defendants’ Reply Brief is undisputedly a part to this suit. Finally, Wolters Kluwer
 27   Fin. Servs. v. Scivantage, 2007 WL 1098714, *1 (S.D.N.Y. Apr. 12, 2007) is
      irrelevant to the issues since it did not involve a Rule 12(f) motion at all.
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                                                           DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
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  1   1-5 colored their faces darkly, and that, whatever their intention, “when looked at in
  2   a photograph [the dark facial make-up] came across as blackface,” (FAC ¶ 82), which
  3   was “perceived as racially insensitive,” id., and that their actions came “from a place
  4   of ignorance.” Id. Plaintiffs also admit that upon viewing the very video that
  5   produced the still-image at issue, a member of the CLU community perceived the
  6   event as racially charged, and expressed concern over its racist nature to CLU
  7   administrators. (Id. at ¶ 73.)
  8         Plaintiffs’ unfortunate reaction to the still-shot – making recklessly false
  9   accusations of the image being altered by opposing counsel – can be made sense of
 10   only as an attempt to sidestep the merits. As explained in the Declaration of Henry
 11   A. Platt, Esq. (Doc. 69-1), Defendants’ counsel received the video that Plaintiffs
 12   posted to the CLU Softball Team’s Instagram account from their client, paused the
 13   video, took a screenshot to capture a still-image, and inserted the still-image into
 14   Defendants’ Reply Brief.
 15         Plaintiffs argue that because the individual in the video was “tall and skinny”
 16   and wearing sunglasses, a wig, and a visor, the image had to have been altered. (Doc.
 17   72-1 at ¶ 8.) Apart from being wrong, this argument also skirts the merits, which is
 18   no doubt the point: the fact is that anyone who viewed the subject’s face would
 19   conclude it was colored darkly. Tall or short, fat or thin, the face is unmistakably
 20   colored black. The intentions of the student are not what matters – the perception of
 21   the CLU community upon seeing that unmistakably black-colored face is what
 22   matters in this case. If the image is somewhat “blurry,” this is a result of how
 23   Plaintiffs shared the video on social media, and the way that everyone in the
 24   University community saw it.3 Plaintiffs devote so much effort to feigned outrage
 25   over the image being presented to the Court that they fail to engage with the central
 26   3
        Plaintiffs also argue that the photo is problematic because it identifies one of the
 27   Jane Does, which argument is, to say the least, in significant tension with Plaintiffs’
      accusation that Defense Counsel have unrecognizably altered the photo.
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                                                          DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
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  1   point that the image is irrefutably relevant, properly authenticated, and squarely
  2   within the four corners of the First Amended Complaint.
  3          Plaintiffs attached to their Motion to Strike an image of the same Jane Doe
  4   with her glasses pulled down and her face tilted downwards, such that this particular
  5   image shows her apparently un-blackened eyes and eyebrow area in close-up. This
  6   image, however, is entirely immaterial – the issue is not how Jane Doe looked earlier
  7   that day, or the day before or the day after. The issue is: how did Jane Doe present in
  8   the video the team posted to social media, referenced repeatedly in the Complaint?
  9   The image included in Defendants’ Reply Brief (and the video Defendants offered to
 10   submit to the Court) show how she presented, not a different, unrelated photo of
 11   Plaintiffs’ choosing.
 12   III.   PLAINTIFFS FAIL TO REVEAL THAT DEFENDANTS OFFERED TO
 13          SUBMIT THE VIDEO OF THE LIP-SYNCING EVENT FROM THE
 14          SOFTBALL TEAM’S INSTAGRAM FOR THIS COURT’S REVIEW.
 15          Of particular importance, Plaintiffs fail to address their resistance to this Court
 16   viewing the entirety of the video of Jane Does 1-5’s lip-syncing routine in lieu of
 17   keeping the image in the public record. As noted in Defendants’ Reply in Support of
 18   their Motion to Compel the Identity of Jane Does 1-24 (Doc. 74), during the parties’
 19   meet and confer on the motion, Defendants offered to submit the subject video in its
 20   entirety to the Court to review, but Plaintiffs’ counsel refused. See Platt Decl. ¶¶ 5-
 21   6.
 22                                       CONCLUSION
 23          For the reasons set forth herein, Defendants respectfully request that the Court
 24   deny Plaintiffs’ Motion to Strike Portions of Defendants’ Reply in Support of
 25   Defendants’ Motion to Dismiss.
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                                                            DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
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      Dated: June 17, 2022               SAUL EWING ARNSTEIN & LEHR LLP
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  6                                      Grennan
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